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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 17-201-2 (ABJ)
 RICHARD W. GATES III,
                                            PUBLIC REDACTED VERSION
               Defendant.


                GOVERNMENT’S RESPONSE TO DEFENDANT GATES’
                 MOTION TO MODIFY CONDITIONS OF RELEASE

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

submits this response to defendant Gates’ motion to modify his conditions of release (ECF#98). 1

The government does not oppose defendant Gates’ proposed sureties or the property he proposes

to pledge, but raises for the Court’s consideration concerns about certain aspects of the package

and whether Gates has met the $5 million bond requirement. Should the Court determine that the

proposed assets and property are sufficient, the government requests that the conditions of release

ordered with respect to defendant Manafort also be required of defendant Gates.

I.     Surety and Property Issues

       To begin, the government does not oppose the defendant’s proposed sureties or question

their significance in ensuring the defendant’s appearance in court and his compliance with other

bail conditions. See United States v. Martinez, 151 F.3d 68, 71 (2d Cir. 1998) (noting that sureties

are assessed for “their ability to exercise moral suasion” over the defendant, “should he decide to

flee”); see also United States v. Batista, 163 F. Supp. 2d 222 (S.D.N.Y. 2001) (listing factors to


       1
         The government has filed this response under seal because it references information that
defendant Gates has redacted from his submission (see ECF#96). But contemporaneous with its
sealed submission, the government is also filing a redacted version on the public docket.
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evaluate a potential surety’s capacity for “moral suasion,” including “the strength of the tie

between the suret[y] and defendant”).

       At issue instead is whether the pledged property and assets meet the required bond amount.

The government contends that they do not. Of particular concern is the value of the

property, pledged by                , and the most significant asset pledged by a surety (other than

the defendant’s home). The defendant assesses the value of the property to be approximately

           . ECF#98 at 5; id., Exh. 1, at 49-65. The government believes that value is overstated.

To be clear, there appears to be scant case law about how to value property, much less commercial

property, for bail purposes, as courts generally discuss “market value” without specifying how that

value is determined. See, e.g., United States v. Forgione, No. 07-cr-80138, 2007 WL 4570827, at

*3 (S.D. Fla. 2007) (subtracting mortgage and tax liens from assessed “market value” of the

property); United States v. Calvanese, No. 06-cr-30029, 2007 WL 686727, at *5 (D. Mass. 2007)

(determining equity in a pledged property by subtracting outstanding mortgage and line of credit

from “appraised value”). 2

       Multiple reasonable valuation methods may exist. One approach consists of taking the

value of the property (based on the price of the land and structures on it) and deducting the

mortgage or other liabilities. That approach often makes sense in the bail context because, were

the property to be seized, that is what the government would receive (since the government does



       2
         While residential property generally appears to be favored (or at least is more commonly
posted) in the bail context, courts have differed as to the propriety of using commercial property
to secure a bond. See United States v. Dhafir, No. 03-cr-64, 2004 WL 7321256, at *4 (N.D.N.Y.
Feb. 5, 2004) (noting, among other deficiencies in bail package, that no surety other than the
“defendant’s wife” had “pledged their residences” and the listed properties were instead
“principally commercial properties”); United States v. Montemarano, No. 84-cr-809, 1986 WL
5380, at *1 (S.D.N.Y. May 5, 1986) (rejecting suggestion “that commercial property . . . is
inherently unlikely to obligate [the defendant] to appear, and cannot therefore be accepted as bail”).


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not intend to run businesses such as those operating at               ). And if that approach were

followed in this case, it would yield a value for the                 property well below what the

defendant has claimed. In an interview conducted on December 6, 2017,                   ’s owner

          ) informed the government that the land and structures themselves are valued at only

          . Subtracting from that amount the existing mortgage of                leaves slightly more

than            of equity in the property.

        A second approach, the one advocated by the defendant, calculates the market value of the

           property                                      which takes into account the yearly income

that the owner currently earns by renting the property. ECF#98, Exh. 1 at 58. The government

questions whether this approach is appropriate in the present setting, since (as noted above) it

depends on income that the current owner earns through leases or other contracts with third parties,

and it is not clear that those contracts would automatically be assigned to the government in the

event of bail forfeiture. Indeed, this Court has previously noted the difficulties that restrictions in

contracts can pose in pledging assets for bail. See Nov. 6, 2017 Tr. 14 (noting those difficulties as

to life insurance policies).

        But even if the approach warrants consideration, the defendant’s calculations under it

appear to be flawed. In applying his methodology, the defendant takes the

of                       and multiplies it by the capitalization rate of        , yielding a value of

approximately                  . ECF#98, Exh. 1 at 58. Assuming                to be the appropriate

capitalization rate, the defendant’s valuation would still be overstated. That is because the

appropriate figure to be multiplied is the net operating income—that is, the total revenue of

         minus relevant operating expenses. The defendant, however, does not subtract any of the

operating expenses listed on the                                 from the          in yearly revenue.



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And depending on the amount of those expenses (which one document lists as totaling

approximate! ~), the value of the -                   prope1iy would be substantially less than the

approximately -              that the defendant proposes.3

       Given these concerns over the value of at least one of the defendant's pledged properties,

the non-real-estate assets of the defendant's proposed smeties take on additional impo1iance,

paiiicularly if th e defendant decides to pledge these assets. The defendant claims that those assets

                            ECF#98 at 7, but he has provided little info1mation to support that

asse1iion, see id. at 7 n.9, and the info1mation presented again raises valuation questions. 4 Should

the defendant decide to pledge these assets, the government believes it appropriate that the

defendant provide additional info1mation or, if additional assets are available from other somces,

that they be identified with greater specificity so that they can be properly evaluated.

II.    Additional Conditions of Release

       If the Court concludes that the defendant's proposed bail package is sufficient to justify

releasing him from home confinement, the government requests that the Comi impose the same




motion, includino the
letter from
identifies the relevant factor as the
when calculating the resulting capita 1zatlon
also the ~       ofit) figm e listed in 2016 as
that t h e - figm·e came from
cleai·, the government believes that, if the capitalization method of valuation is to be used, the
appropriate figm·e for 2016 should be the gross income minus relevant operating expenses.

       4
         For example, the defendant bases his description of one sm ety's non-real-estate assets-
and the defendant's own assets--on the value of various -             accounts,
              . See ECF#98 at 6-7 & n.9; id. , Exh. 1 at 71 (Attach . H). The real-world value of
those accounts is presumably less than the defendant proposes given the penalties and income
taxes that would be assessed if those assets were withdrawn as the result of a bail violation.

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conditions set forth in the Court’s December 15, 2017 order (ECF#95) setting the conditions of

release for defendant Manafort.

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       For the foregoing reasons, the government has concerns that the value of the defendant’s

bail package fails to meet the $5 million bond requirement and that the defendant should provide

additional information about the assets he cites in his motion to modify his conditions of release

should he seek to pledge those assets. Alternatively, if the Court concludes that the defendant’s

proposed bail package is sufficient to reasonably assure his appearance and compliance with the

bail conditions as required, the government requests that the Court order his release subject to the

conditions set forth in the Court’s order relating to the defendant Manafort (ECF#95), in addition

to any other restrictions that the Court deems necessary.

                                                     Respectfully submitted,

                                                     ROBERT S. MUELLER III
                                                     Special Counsel

Dated: December 20, 2017                      By:    __/s/ Greg Andres__________________
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